

People v Maldonado (2016 NY Slip Op 07215)





People v Maldonado


2016 NY Slip Op 07215


Decided on November 2, 2016


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 2, 2016
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RANDALL T. ENG, P.J.
WILLIAM F. MASTRO
REINALDO E. RIVERA
JOHN M. LEVENTHAL, JJ.


2003-04314
2003-08947

[*1]The People of the State of New York, respondent,
vAngel Maldonado, appellant. (Ind. Nos. 2340-99, 891-01)


Angel Maldonado, Malone, NY, appellant pro se.
Thomas J. Spota, District Attorney, Riverhead, NY (Rosalind C. Gray of counsel), for respondent.
Laurette Mulry, Riverhead, NY (Louis E. Mazzola of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated August 8, 2005 (People v Maldonado, 21 AD3d 430), affirming two judgments of the County Court, Suffolk County, both rendered April 25, 2003.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
ENG, P.J., MASTRO, RIVERA and LEVENTHAL, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








